Case: 1:17-md-02804-DAP Doc #: 2212-66 Filed: 08/13/19 1 of 31. PageID #: 336749




PSJ4 SOL Opp App A Exh 6
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 2212-66
                               SubjectFiled: 08/13/19 2Confidentiality
                                         to Further     of 31. PageID #: 336750
                                                                            Review

     1               IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
     2                           EASTERN DIVISION
     3    IN RE:     NATIONAL             :   MDL No. 2804
          PRESCRIPTION OPIATE             :
     4    LITIGATION                      :   Case No. 17-md-2804
                                          :
     5    APPLIES TO ALL CASES            :   Hon. Dan A. Polster
                                          :
     6                                    :
     7
     8                        HIGHLY CONFIDENTIAL
     9           SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
    10
    11                                 - - - -
    12                           JANUARY 18, 2019
    13                                 - - - -
    14           VIDEOTAPED DEPOSITION OF MICHAEL BIANCO,
    15    taken pursuant to notice, was held at Marcus &
    16    Shapira, One Oxford Center, 35th Floor, Pittsburgh,
    17    Pennsylvania 15219, by and before Ann Medis,
    18    Registered Professional Reporter and Notary Public in
    19    and for the Commonwealth of Pennsylvania, on Friday,
    20    January 18, 2019, commencing at 9:07 a.m.
    21                                 - - - -
    22                    GOLKOW LITIGATION SERVICES
                    877.370.3377 ph | 917.591.5672 fax
    23                            deps@golkow.com
    24
    25

   Golkow Litigation Services                                              Page 1
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 2212-66
                               SubjectFiled: 08/13/19 3Confidentiality
                                         to Further     of 31. PageID #: 336751
                                                                            Review

     1    today, do you have actually have firsthand
     2    knowledge that the HBC warehouse had the ability
     3    to hold or stop orders?
     4                  MR. KOBRIN:      Object to form.       Asked and
     5    answered.
     6                  THE WITNESS:      Yes.
     7    BY MR. HUDSON:
     8           Q.     And how then did that occur?
     9                  MR. KOBRIN:      Object to form.       Asked and
    10    answered.
    11                  THE WITNESS:      I mean, I'm reading an
    12    email that I wrote that says an order was stopped.
    13    BY MR. HUDSON:
    14           Q.     I'm trying to get an understanding of
    15    what you're relying on other people to tell you.
    16    Did somebody tell you the order had been
    17    stopped --
    18                  MR. KOBRIN:      Ty, are you asking if he
    19    went to the warehouse to stop the order himself?
    20    BY MR. HUDSON:
    21           Q.     -- versus you having firsthand knowledge
    22    of how the process worked and how orders were
    23    stopped?
    24                  MR. KOBRIN:      Object to form.       Ty, this
    25    has been gone over several times in this

   Golkow Litigation Services                                           Page 109
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 2212-66
                               SubjectFiled: 08/13/19 4Confidentiality
                                         to Further     of 31. PageID #: 336752
                                                                            Review

     1    deposition.       He's told you he knew the orders were
     2    stopped.      He's told you that he didn't understand
     3    the exact technicalities of it.             I don't
     4    understand why you're beating this witness up
     5    about this issue.
     6                  THE WITNESS:      I never physically went
     7    there to stop an order or see an order physically
     8    stopped.
     9    BY MR. HUDSON:
    10           Q.     And as you sit here today, you don't
    11    know the process of how an order could be stopped?
    12    I'll be real honest with you.            The reason why I'm
    13    asking is because other witnesses have testified
    14    that orders can't be stopped.
    15                  MR. KOBRIN:      Object to form.
    16    Misrepresents the testimony of other witnesses.
    17                  THE WITNESS:      I don't know how --
    18                  MR. HUDSON:      The record will tell that.
    19                  THE WITNESS:      I don't know how they
    20    were -- I don't know the details behind it.
    21    BY MR. HUDSON:
    22           Q.     Is it fair to say it was your
    23    understanding at this time that orders could be
    24    stopped, but you didn't understand how, you didn't
    25    understand who did it, and you didn't understand

   Golkow Litigation Services                                           Page 110
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 2212-66
                               SubjectFiled: 08/13/19 5Confidentiality
                                         to Further     of 31. PageID #: 336753
                                                                            Review

     1    how the process worked?
     2                  MR. KOBRIN:      Object to form.
     3                  THE WITNESS:      Yes.
     4    BY MR. HUDSON:
     5           Q.     Fair enough.      Thank you.
     6                  MR. KOBRIN:      Can we take just a quick
     7    break?
     8                  MR. HUDSON:      Sure.    Let's go off the
     9    record.
    10                  THE VIDEOGRAPHER:        The time is 11:23.
    11    We're going off the video record.
    12                  (Recess from 11:23 a.m. to 11:42 a.m.)
    13                  THE VIDEOGRAPHER:        The time is
    14    11:42 a.m.      We are now back on the video record.
    15    BY MR. HUDSON:
    16           Q.     Mr. Bianco, let's move to a new topic.
    17    Were you ever involved in any DEA inspections?
    18           A.     Formal inspections, not that I remember.
    19                  (HBC-Bianco Exhibit 14 was marked.)
    20    BY MR. HUDSON:
    21           Q.     Let me hand you what I've marked as
    22    Exhibit 14.
    23                  MR. HUDSON:      The internal number is 1226
    24    for this one.
    25

   Golkow Litigation Services                                           Page 111
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 2212-66
                               SubjectFiled: 08/13/19 6Confidentiality
                                         to Further     of 31. PageID #: 336754
                                                                            Review

     1    BY MR. HUDSON:
     2           Q.     This looks like two emails.           I'm going
     3    to start with the bottom email.             And that was from
     4    you to STR_Pharmacy_PDLs.           Do you see that?
     5           A.     I do.
     6           Q.     Are you emailing then a distribution
     7    list of all the Giant Eagle PDLs?
     8           A.     Yes.
     9           Q.     And then you're copying Mr. Millward,
    10    Ms. Matty, Mr. Shaheen and Mr. Carlson; right?
    11           A.     Yes.
    12           Q.     And the subject is Narcs Found in Tote?
    13           A.     Correct.
    14           Q.     And it's September 25, 2014; right?
    15           A.     Correct.
    16           Q.     And in this email you're indicating that
    17    a narcotic tote was returned to the HBC warehouse
    18    today with no identifying marks; right?
    19           A.     Yes.
    20           Q.     And then below you've identified what
    21    the contents are in that tote there; right?
    22           A.     It appears to be.
    23           Q.     The top one is two units of a
    24    hydrocodone combination product; right?
    25           A.     Correct.

   Golkow Litigation Services                                           Page 112
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 2212-66
                               SubjectFiled: 08/13/19 7Confidentiality
                                         to Further     of 31. PageID #: 336755
                                                                            Review

     1           Q.     And then if we go on down, the fifth
     2    item down is one unit of a hydrocodone combination
     3    product; right?
     4           A.     Correct.
     5           Q.     And then the sixth item is another one
     6    unit of a hydrocodone combination product?
     7           A.     Correct.
     8           Q.     And then below that you wrote,
     9    "Additionally, we have seen a large number of
    10    totes being returned to the warehouse with their
    11    contents still inside, many of which are
    12    refrigerated or controlled items.              Please attempt
    13    to address this as you see fit."
    14           Now, if we go up above to your -- that's in
    15    October.      If we go up to the top email, this is an
    16    email from you to Mr. Millward with a copy to
    17    Mr. Carlson; right?
    18           A.     To who?
    19           Q.     It's an email from you to Mr. Millward
    20    with a copy to Mr. Carlson.
    21           A.     Yes.   Sorry.
    22           Q.     And you're forwarding your email below;
    23    right?
    24           A.     Yes.
    25           Q.     And that was the narcs found in tote

   Golkow Litigation Services                                           Page 113
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 2212-66
                               SubjectFiled: 08/13/19 8Confidentiality
                                         to Further     of 31. PageID #: 336756
                                                                            Review

     1    email; right?
     2           A.     Correct.
     3           Q.     So this is about a little less than a
     4    week after your September 25 email is this forward
     5    on October 1; right?
     6           A.     Correct.
     7           Q.     In here you said, "Hi, Joe.           As you
     8    likely know, the DEA was in for an inspection of
     9    the warehouse today specifically asking about
    10    hydrocodone-containing products."
    11           Do you see that?
    12           A.     Yes.
    13           Q.     Do you have any recollection other than
    14    what you're reading in this email about this DEA
    15    next of the warehouse today asking about
    16    hydrocodone-containing products?
    17                  MR. KOBRIN:      Object to form.
    18                  THE WITNESS:      No.
    19    BY MR. HUDSON:
    20           Q.     Here you wrote, "At the time the
    21    warehouse reported having no
    22    hydrocodone-containing products on hand."
    23    Correct?
    24           A.     Yes.
    25           Q.     Then in the next paragraph you said,

   Golkow Litigation Services                                           Page 114
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 2212-66
                               SubjectFiled: 08/13/19 9Confidentiality
                                         to Further     of 31. PageID #: 336757
                                                                            Review

     1    "Currently, we have one case of a
     2    hydrocodone/APAP5/325 that was intended for 6510."
     3           Is that a particular store, 6510?
     4           A.     Yes.
     5           Q.     "Which is being shipped out tonight
     6    after discussion with Tracy Patel.              We also have
     7    one tote of which the contents are described below
     8    that was returned to the warehouse.              The original
     9    owner of the returned tote is not able to be
    10    identified by Donna Matty or myself through
    11    various methods.        Can you tell me how you would
    12    like these contents to be handled.              I would like
    13    to have the four units of hydrocodone-containing
    14    products out of the warehouse by 10/5 so we can
    15    avoid any issues with the schedule change."
    16           Do you see that?
    17           A.     Yes.
    18           Q.     Does this email from you to Mr. Millward
    19    and a copy to Mr. Carlson indicate that on
    20    October 1 when you were writing this email, there
    21    were hydrocodone combination products that were at
    22    the warehouse?
    23           A.     On October 1, yes.
    24           Q.     And you wrote this email at 1827.             Would
    25    that be 6:27 at night?

   Golkow Litigation Services                                           Page 115
Case:Highly
      1:17-md-02804-DAP Doc #:- 2212-66
              Confidential       SubjectFiled:
                                           to 08/13/19
                                               Further10Confidentiality
                                                         of 31. PageID #: 336758
                                                                             Review

      1           A.    Assuming the time stamps are correct,
      2    yes.
      3           Q.    And here in this email you're writing
      4    that there was a DEA inspection of the warehouse
      5    today, which means on October 1; right?
      6           A.    That's what it reads, yes.
      7           Q.    And at that inspection where that DEA
      8    came in, the warehouse reported to the DEA having
      9    no hydrocodone-containing products on hand;
     10    correct?
     11           A.    That's what it reads, yes.
     12           Q.    But that wasn't true; right?
     13                 MR. KOBRIN:       Object to form.
     14                 THE WITNESS:       I don't know that.
     15    BY MR. HUDSON:
     16           Q.    In this email that you forwarded, you
     17    forwarded an email from September 25 that talked
     18    about a tote being returned to the HBC warehouse
     19    that had four units of hydrocodone combination
     20    products; right?
     21           A.    Yes.
     22           Q.    And in your above email, you're talking
     23    about shipping it out that night, the night of
     24    October 1, right, from the warehouse?
     25           A.    That's what it reads.

   Golkow Litigation Services                                            Page 116
Case:Highly
      1:17-md-02804-DAP Doc #:- 2212-66
              Confidential       SubjectFiled:
                                           to 08/13/19
                                               Further11Confidentiality
                                                         of 31. PageID #: 336759
                                                                             Review

      1           Q.    So that tote was there that day when the
      2    DEA was inspecting; right?
      3           A.    I don't know that.
      4           Q.    You can't tell that from reading your
      5    below email and this email?
      6           A.    I wasn't physically at the location.               So
      7    I don't know where the tote in question was or how
      8    it was handled.
      9           Q.    In this email that you're writing to
     10    Mr. Millward, we know where the tote was, right,
     11    because you're talking shipping it out that night?
     12                 MR. KOBRIN:       Object to form.       Where are
     13    you talking about they were shipping it out that
     14    night?
     15    BY MR. HUDSON:
     16           Q.    Do you see that, Mr. Bianco?
     17           A.    Can you repeat that.
     18           Q.    Sure.     You said currently -- or you
     19    said, "Currently we have one case of
     20    hydrocodone/APAP 5/325..."           What is that?
     21           A.    That's -- I can't remember if it's
     22    Vicodin or Norco.        I think it's Norco, the generic
     23    Norco.
     24           Q.    "...that was intended for 6510, which is
     25    being shipped out tonight after discussion with

   Golkow Litigation Services                                            Page 117
Case:Highly
      1:17-md-02804-DAP Doc #:- 2212-66
              Confidential       SubjectFiled:
                                           to 08/13/19
                                               Further12Confidentiality
                                                         of 31. PageID #: 336760
                                                                             Review

      1    Tracy Patel."       And who is Tracy Patel?
      2           A.    She's an PDL.
      3           Q.    So this is indicating the HBC warehouse
      4    is going to ship this hydrocodone-containing
      5    product to -- it's going to ship it out that
      6    night.      Is that a fair reading of this email.
      7           A.    I don't know where it was shipping from.
      8    It just says that it was shipping.
      9           Q.    You can't tell from your email where it
     10    was shipping from, that particular
     11    hydrocodone-containing product?
     12           A.    I can make an assumption.
     13           Q.    What would your assumption be?
     14                 MR. KOBRIN:       Object to form.
     15                 THE WITNESS:       Strictly speculating, it
     16    would be from the warehouse.
     17    BY MR. HUDSON:
     18           Q.    Is there anywhere else that you can
     19    think of as you sit here now where that
     20    hydrocodone-containing product would be other than
     21    the warehouse?
     22           A.    At the time I believe it wasn't a CII.
     23    How it was handled didn't have as -- the DEA
     24    doesn't regulate it as tightly.             So I don't know
     25    where it was.       I can't speak to where it was.

   Golkow Litigation Services                                            Page 118
Case:Highly
      1:17-md-02804-DAP Doc #:- 2212-66
              Confidential       SubjectFiled:
                                           to 08/13/19
                                               Further13Confidentiality
                                                         of 31. PageID #: 336761
                                                                             Review

      1           Q.    So if it was a hydrocodone-containing
      2    product, since it's less regulated, in your mind,
      3    somehow it's less critical that you tell the truth
      4    to the DEA about which products are there?
      5                 MR. KOBRIN:       Object to form.
      6    BY MR. HUDSON:
      7           Q.    I don't understand what that means.
      8                 MR. KOBRIN:       Object to form.       Misstates
      9    the testimony and it's argumentative.
     10                 THE WITNESS:       You don't understand what
     11    what means?
     12    BY MR. HUDSON:
     13           Q.    Why did you say that hydrocodone was not
     14    a CII at the time?
     15           A.    I thought you had said earlier that
     16    hydrocodone changed in late October 2014.
     17           Q.    It changed at some point in
     18    October 2014; right?
     19           A.    Okay.
     20           Q.    Do you know specifically when it
     21    changed?
     22           A.    I don't know off the top of my head, no.
     23           Q.    Do you know why the DEA was conducting
     24    this inspection?
     25           A.    I do not.

   Golkow Litigation Services                                            Page 119
Case:Highly
      1:17-md-02804-DAP Doc #:- 2212-66
              Confidential       SubjectFiled:
                                           to 08/13/19
                                               Further14Confidentiality
                                                         of 31. PageID #: 336762
                                                                             Review

      1           Q.    Do you know why they were asking about
      2    hydrocodone-containing products?
      3           A.    I do not.
      4           Q.    Do you know why the warehouse reported
      5    having no hydrocodone-containing products on hand?
      6           A.    I do not.
      7           Q.    From your email, do you think it's fair
      8    to infer that you're saying that there were
      9    hydrocodone products that are on hand, but they're
     10    being shipped out as soon as possible?
     11                 MR. KOBRIN:       Object to form.
     12                 THE WITNESS:       At what time?
     13    BY MR. HUDSON:
     14           Q.    On October 1.       One shipment you're going
     15    to ship out later that night on October 1, and the
     16    other shipment you're trying to get shipped out by
     17    10/5.
     18           A.    We can infer that as of October 1 at
     19    6:30 p.m. there was hydrocodone there.               That's
     20    fair.
     21           Q.    Right.     So we know for sure that on
     22    October 25, 2014, you wrote to all the PDLs about
     23    a tote that had been returned to the HBC warehouse
     24    that day that contained four units of hydrocodone
     25    combination products; right?

   Golkow Litigation Services                                            Page 120
Case:Highly
      1:17-md-02804-DAP Doc #:- 2212-66
              Confidential       SubjectFiled:
                                           to 08/13/19
                                               Further15Confidentiality
                                                         of 31. PageID #: 336763
                                                                             Review

      1           A.    Correct.
      2           Q.    And then we also know that in your email
      3    of October 1, you reference that tote again, and
      4    you say, we also have one tote of which the
      5    contents are described below, and that's your
      6    email from September 25, right, that was returned
      7    to the warehouse?        The original owner of the
      8    returned tote is not able to identify by Donna
      9    Matty or myself -- is not able to be identified by
     10    Donna Matty or myself through various methods;
     11    right?
     12           A.    That's what it reads.
     13           Q.    Then you said, "Can you tell me how you
     14    would like these contents to be handled?"                And you
     15    wrote, "I would like to have the four units of
     16    hydrocodone-containing products out of the
     17    warehouse."
     18           When you say out of the warehouse, that
     19    indicates that at least on October 1 at 6:27 p.m.
     20    when you wrote this email that they're in the
     21    warehouse; right?
     22                 MR. KOBRIN:       Object to form.
     23    BY MR. HUDSON:
     24           Q.    Do you agree with that?
     25           A.    (Nodding.)

   Golkow Litigation Services                                            Page 121
Case:Highly
      1:17-md-02804-DAP Doc #:- 2212-66
              Confidential       SubjectFiled:
                                           to 08/13/19
                                               Further16Confidentiality
                                                         of 31. PageID #: 336764
                                                                             Review

      1           Q.    And you want them out within the next
      2    four days, by 10/5, so you can void issues with
      3    the schedule change; right?
      4           A.    That's what it says.
      5           Q.    As you sit here today, do you believe
      6    that the warehouse conveyed information to the DEA
      7    that was not accurate?
      8           A.    I don't know.
      9           Q.    Was the purpose of your email to
     10    Mr. Millward to make him aware of what had been
     11    told to the DEA and make sure that those
     12    hydrocodone combination products were out of the
     13    warehouse as soon as possible?
     14           A.    I think the purpose would have been to
     15    let him know about the hydrocodone products in the
     16    warehouse at that time.
     17           Q.    Why then did you mention the DEA
     18    inspection?
     19           A.    I don't know.
     20           Q.    Why did you mention that the warehouse
     21    reported having no hydrocodone-containing
     22    products?
     23           A.    I don't know.       I don't know if that was
     24    said to the DEA or not.
     25           Q.    You think from your email it's possible

   Golkow Litigation Services                                            Page 122
Case:Highly
      1:17-md-02804-DAP Doc #:- 2212-66
              Confidential       SubjectFiled:
                                           to 08/13/19
                                               Further17Confidentiality
                                                         of 31. PageID #: 336765
                                                                             Review

      1    that the warehouse did not report to the DEA of
      2    having no hydrocodone-containing products on hand?
      3           A.    I can't speak to that.          I wasn't there.
      4           Q.    Let's look more carefully then, if we
      5    can go back up to the top paragraph of your email.
      6    This is what you wrote on October 1.
      7           "As you likely know, the DEA was in for an
      8    inspection of the warehouse today specifically
      9    asking about hydrocodone-containing products.                  At
     10    the time the warehouse reported having no
     11    hydrocodone-containing products on hand."
     12           In your mind, is there any doubt at all that
     13    the HBC warehouse reported to the DEA on October 1
     14    that it had no hydrocodone-containing products on
     15    hand?
     16           A.    I don't know.       I don't know if the DEA
     17    asked if there was any on hand.             I wasn't at
     18    the...
     19           Q.    You don't know whether or not the DEA
     20    asked the warehouse whether there were
     21    hydrocodone-containing products on hand?
     22           A.    I don't know how I could know that.
     23           Q.    You wrote it in your email, didn't you?
     24           A.    No.
     25           Q.    You say, "As you likely know, the DEA

   Golkow Litigation Services                                            Page 123
Case:Highly
      1:17-md-02804-DAP Doc #:- 2212-66
              Confidential       SubjectFiled:
                                           to 08/13/19
                                               Further18Confidentiality
                                                         of 31. PageID #: 336766
                                                                             Review

      1    was in for an inspection of the warehouse today
      2    specifically asking about hydrocodone-containing
      3    products."
      4           Then you went on and said, "At the time the
      5    warehouse reported having no
      6    hydrocodone-containing products on hand."
      7           In your mind is there any uncertainty as to
      8    what you wrote?
      9                 MR. KOBRIN:       Object to form.
     10                 THE WITNESS:       I can read what I wrote.
     11    BY MR. HUDSON:
     12           Q.    You agree that that day when the DEA was
     13    there, what you're writing is that the warehouse
     14    told the DEA that there were no
     15    hydrocodone-containing products on hand; right?
     16           A.    I disagree.
     17           Q.    You don't think that's what's written in
     18    that paragraph?
     19           A.    I know definitively that's not what's
     20    written in the paragraph.
     21           Q.    What do you think the warehouse told the
     22    DEA?
     23           A.    I don't know.
     24           Q.    What was your overall point in writing
     25    this email to Mr. Millward who was the head of

   Golkow Litigation Services                                            Page 124
Case:Highly
      1:17-md-02804-DAP Doc #:- 2212-66
              Confidential       SubjectFiled:
                                           to 08/13/19
                                               Further19Confidentiality
                                                         of 31. PageID #: 336767
                                                                             Review

      1    compliance at the time?
      2           A.    I don't remember.         As I said earlier, I
      3    could speculate that it was likely to tell him at
      4    time of day that there may have been products on
      5    hand.
      6           Q.    Why would it be important to tell him
      7    that there were hydrocodone products on hand?
      8                 MR. KOBRIN:       Object to form.
      9                 THE WITNESS:       Based on my email because
     10    we wanted them out of the warehouse by 10/5.
     11    BY MR. HUDSON:
     12           Q.    And why did you want them out of the
     13    warehouse by 10/5?
     14           A.    So we can avoid any issue with the
     15    schedule change.
     16           Q.    What about the DEA, is there any
     17    connection between the DEA coming and asking about
     18    hydrocodone-containing products and the decision
     19    to ship out the hydrocodone combination products
     20    that you identified as being on hand?
     21                 MR. KOBRIN:       Object to form.
     22                 THE WITNESS:       Can you repeat that.
     23    BY MR. HUDSON:
     24           Q.    Sure.     Is there any connection between
     25    the DEA conducting this inspection of the

   Golkow Litigation Services                                            Page 125
Case:Highly
      1:17-md-02804-DAP Doc #:- 2212-66
              Confidential       SubjectFiled:
                                           to 08/13/19
                                               Further20Confidentiality
                                                         of 31. PageID #: 336768
                                                                             Review

      1    warehouse that day and your decision to email
      2    Mr. Millward and Mr. Carlson about shipping out
      3    the hydrocodone combination products as soon as
      4    possible or at least by 10/5?
      5                 MR. KOBRIN:       Object to form.
      6                 THE WITNESS:       I don't -- I don't know.
      7    BY MR. HUDSON:
      8           Q.    If it was just about shipping the
      9    hydrocodone combination products out, would there
     10    have been any need to reference that the DEA had
     11    made an inspection that day?
     12           A.    They're two separate paragraphs, so...
     13           Q.    So you think these are two unconnected
     14    points?
     15           A.    No.    I don't know.
     16           Q.    Does this cause you concern as you're
     17    sitting here today reading these two paragraphs
     18    that it's possible that the HBC warehouse may have
     19    provided inaccurate information to the DEA about
     20    whether it had hydrocodone-containing products on
     21    hand?
     22                 MR. KOBRIN:       Object to form.
     23                 THE WITNESS:       No.
     24    BY MR. HUDSON:
     25           Q.    It does not?

   Golkow Litigation Services                                            Page 126
Case:Highly
      1:17-md-02804-DAP Doc #:- 2212-66
              Confidential       SubjectFiled:
                                           to 08/13/19
                                               Further21Confidentiality
                                                         of 31. PageID #: 336769
                                                                             Review

      1           A.    It doesn't state that they did.
      2           Q.    Do you think it's possible that the
      3    warehouse reported to the DEA that it had no
      4    hydrocodone-containing products on hand when, in
      5    fact, the warehouse did have
      6    hydrocodone-containing products in the warehouse
      7    at the time of the DEA inspection?
      8                 MR. KOBRIN:       Object to form.       Calls for
      9    speculation.
     10                 THE WITNESS:       Is that possible?        Yes.
     11    BY MR. HUDSON:
     12           Q.    And from the contents of your email,
     13    doesn't it appear to be highly likely that that's
     14    what happened?
     15                 MR. KOBRIN:       Object to form.
     16                 THE WITNESS:       No.    We had a very close
     17    relationship with the DEA.            So I don't know what
     18    the conversations specifically were about, but
     19    they could have been about many issues surrounding
     20    the hydrocodone change, schedule change.
     21    BY MR. HUDSON:
     22           Q.    We do know though as part of that
     23    conversation, the warehouse did report to the DEA
     24    having no hydrocodone-containing products on hand.
     25    We know that; right?

   Golkow Litigation Services                                            Page 127
Case:Highly
      1:17-md-02804-DAP Doc #:- 2212-66
              Confidential       SubjectFiled:
                                           to 08/13/19
                                               Further22Confidentiality
                                                         of 31. PageID #: 336770
                                                                             Review

      1           A.    No.
      2           Q.    We don't know that?
      3           A.    I don't know who they reported that to.
      4           Q.    You think it's possible in the same
      5    paragraph you wrote about a DEA inspection of the
      6    warehouse asking about hydrocodone-containing
      7    products and in the next sentence you changed the
      8    subject completely and talked about a report to
      9    somebody other than the DEA about having no
     10    hydrocodone-containing products on hand?
     11                 MR. KOBRIN:       Object to form.
     12    Argumentative.
     13                 THE WITNESS:       And what was the question?
     14                 MR. HUDSON:       Would you mind reading back
     15    the question.
     16                 (The record was read back.)
     17    BY MR. HUDSON:
     18           Q.    Do you understand the question?
     19           A.    I'm not changing the subject entirely.
     20    I'm still talking about hydrocodone.               But, again,
     21    I can't -- I don't know what they said.                I wasn't
     22    there.      I don't know what was reported.            I would
     23    presume the DEA has a report on that date.
     24           Q.    Sir, that first paragraph, you're
     25    recapping a DEA inspection that occurred and what

   Golkow Litigation Services                                            Page 128
Case:Highly
      1:17-md-02804-DAP Doc #:- 2212-66
              Confidential       SubjectFiled:
                                           to 08/13/19
                                               Further23Confidentiality
                                                         of 31. PageID #: 336771
                                                                             Review

      1    you told the DEA about hydrocodone-containing
      2    products; right?
      3           A.    No.    I was not there to report anything
      4    to the DEA.
      5           Q.    But you're not -- in that paragraph you
      6    are not recapping what happened at that DEA
      7    inspection that day?
      8           A.    In the first sentence, yes.
      9           Q.    Only the first sentence.
     10           A.    I don't know.       I don't recall this
     11    email.      I don't recall the situation.
     12           Q.    As you're sitting here today, just
     13    understanding the English language and that
     14    paragraph and how it's written, is there any doubt
     15    in your mind that those two sentences are
     16    connected and that you're talking about a DEA
     17    inspection of the warehouse, about
     18    hydrocodone-containing products, and exactly what
     19    the warehouse reported to the DEA?
     20                 MR. KOBRIN:       Object to form.
     21    Argumentative.       Asked and answered.
     22                 THE WITNESS:       Was there concern?         What
     23    was the leading part of that?            Was there concern
     24    that I --
     25

   Golkow Litigation Services                                            Page 129
Case:Highly
      1:17-md-02804-DAP Doc #:- 2212-66
              Confidential       SubjectFiled:
                                           to 08/13/19
                                               Further24Confidentiality
                                                         of 31. PageID #: 336772
                                                                             Review

      1    BY MR. HUDSON:
      2           Q.    I just want to get your best testimony
      3    on the record about the first paragraph.                When you
      4    read that paragraph as you sit here today, is your
      5    best recollection of what you wrote back on
      6    October 1 -- are those two sentences connected and
      7    are you reporting to Mr. Millward and copying
      8    Mr. Carlson, your boss at the time, about a DEA
      9    inspection of the HBC warehouse and what the
     10    warehouse reported to the DEA?
     11                 MR. KOBRIN:       Object to form.
     12                 THE WITNESS:       I guess if I had any
     13    concern -- I don't recall this email.               But if I
     14    had any concern that there was a suspicious order,
     15    I wouldn't put it in five words in an email at
     16    6:30 at night, or a dozen words.
     17    BY MR. HUDSON:
     18           Q.    My question though wasn't about a
     19    suspicious order.        My question is that first
     20    paragraph, it's just what the warehouse told the
     21    DEA about whether there were hydrocodone
     22    combination products at the warehouse at the time
     23    of the inspection and then you reporting to them
     24    later about what your understanding of what was at
     25    that warehouse later that night.

   Golkow Litigation Services                                            Page 130
Case:Highly
      1:17-md-02804-DAP Doc #:- 2212-66
              Confidential       SubjectFiled:
                                           to 08/13/19
                                               Further25Confidentiality
                                                         of 31. PageID #: 336773
                                                                             Review

      1           Isn't that what's going on in this email?
      2           A.    Like I said, I wouldn't -- if I had
      3    concerns that there was a suspicious response to a
      4    DEA inspection, I would have taken further steps
      5    than to put it in several words in an email at
      6    6:30 at night.
      7           Q.    With all due respect, it's not just
      8    several words.       In the second paragraph goes in
      9    and you describe in detail exactly how to solve
     10    the problem and get those hydrocodone combination
     11    products out of the warehouse as soon as possible;
     12    right?
     13                 MR. KOBRIN:       Object to form.
     14                 THE WITNESS:       I disagree with that.
     15    BY MR. HUDSON:
     16           Q.    You do agree that for one case of the
     17    hydrocodone products, you're shipping those out
     18    later that same night; right?            It's 6:27 at night
     19    and you're going to ship that case out later that
     20    night.
     21           A.    Correct.
     22           Q.    Is that usual or unusual for shipments
     23    to be shipped out after 6:30 at night?
     24           A.    Our first wave I don't believe started
     25    until 6:30 at night.         I can't remember if it was

   Golkow Litigation Services                                            Page 131
Case:Highly
      1:17-md-02804-DAP Doc #:- 2212-66
              Confidential       SubjectFiled:
                                           to 08/13/19
                                               Further26Confidentiality
                                                         of 31. PageID #: 336774
                                                                             Review

      1    6:30, 7:30 or 8:30, but it was something similar
      2    to that.
      3           Q.    We can agree that what you identified in
      4    this second paragraph was a case of
      5    hydrocodone-containing products that had been
      6    meant to be shipped to store 6510, but it hadn't.
      7    So now you're putting in place a plan to get that
      8    shipped out of the warehouse that night on
      9    October 1?      Can we agree on that?
     10                 MR. KOBRIN:       Object to form.
     11                 THE WITNESS:       I did not put the plan --
     12    it doesn't look like I put the plan in place.                  I'm
     13    letting them know what the plan was.
     14    BY MR. HUDSON:
     15           Q.    But you're relaying to them what the
     16    plan was for that particular case?
     17           A.    Correct.
     18           Q.    And then for the second, the tote that
     19    you talked about before that had been in the
     20    warehouse for about a week and hadn't been
     21    claimed, it also had hydrocodone-containing
     22    products.      And then in the rest of the paragraph
     23    you're laying out or relaying to the head of
     24    compliance and your boss the plan to get that
     25    shipped out of the warehouse, too; right?

   Golkow Litigation Services                                            Page 132
Case:Highly
      1:17-md-02804-DAP Doc #:- 2212-66
              Confidential       SubjectFiled:
                                           to 08/13/19
                                               Further27Confidentiality
                                                         of 31. PageID #: 336775
                                                                             Review

      1           A.    No.    I'm asking if they can tell me how
      2    they should be handled.
      3           Q.    And then because you're laying out for
      4    them a recommendation what you think should
      5    happen; right?
      6                 MR. KOBRIN:       Object to form.       Misstates
      7    the evidence.
      8                 THE WITNESS:       No.
      9    BY MR. HUDSON:
     10           Q.    At a minimum you're telling them you
     11    would sure like to see the product out of the
     12    warehouse by 10/5 so that you can avoid any issue
     13    with the scheduling change.
     14           A.    Agreed.
     15           Q.    Do you know whether or not those
     16    hydrocodone-containing products were, in fact,
     17    shipped from the warehouse that night?               Do you
     18    have any recollection?
     19           A.    No.
     20           Q.    Do you know anything more about this
     21    topic than what we've talked about?
     22           A.    The topic of changing schedules?
     23           Q.    Yeah, this DEA inspection and then the
     24    plan for shipping these two hydrocodone-containing
     25    products.

   Golkow Litigation Services                                            Page 133
Case:Highly
      1:17-md-02804-DAP Doc #:- 2212-66
              Confidential       SubjectFiled:
                                           to 08/13/19
                                               Further28Confidentiality
                                                         of 31. PageID #: 336776
                                                                             Review

      1           A.    No.    The conversion of the schedule,
      2    yes.
      3                 (HBC-Bianco Exhibit 15 was marked.)
      4    BY MR. HUDSON:
      5           Q.    We'll move to a new topic and hand you
      6    what I've marked as Exhibit 15.             Exhibit 15 is a
      7    thick set -- it's a cover email with a set of
      8    attachments, and the subject of this email is All
      9    Policies for VAWD Reflected as of 5:00 p.m. Today.
     10           Do you recognize Exhibit 15, Mr. Bianco?
     11           A.    Flipping through it, they look like
     12    policies, but without having an opportunity to
     13    read them all.
     14           Q.    This is an email from Sara Green; right?
     15           A.    Appears to be, yes.
     16           Q.    And who is Sara Green?
     17           A.    Based on her signature, she was an
     18    executive secretary.         I'm not sure.
     19           Q.    And she's then distributing this set of
     20    policies to a distribution group that includes
     21    yourself and others?
     22           A.    Yes.
     23           Q.    And she wrote down in the body of the
     24    email, "Good afternoon.          Sorry for so many emails
     25    throughout the day.         Attached are all final PDF

   Golkow Litigation Services                                            Page 134
Case:Highly
      1:17-md-02804-DAP Doc #:- 2212-66
              Confidential       SubjectFiled:
                                           to 08/13/19
                                               Further29Confidentiality
                                                         of 31. PageID #: 336777
                                                                             Review

      1    version policies for VAWD as well as the document
      2    retention policy and chart.            If you have any
      3    questions, let me know."
      4           A.    Yes.
      5           Q.    Were you part of the group that reviewed
      6    these policies before they were put into final
      7    form?
      8           A.    On each specific policy, again, without
      9    having an opportunity to read them, I may have
     10    interacted on some of them, but I don't know
     11    without having an opportunity to review them all.
     12           Q.    What is VAWD?
     13           A.    Verified accredited wholesale
     14    distributor.
     15           Q.    And is that a certification that you can
     16    obtain?
     17           A.    I believe through NABP.
     18           Q.    Through NABP?
     19           A.    National Association of Boards of
     20    Pharmacy.
     21           Q.    And did the HBC warehouse ever get VAWD
     22    certification?
     23           A.    I don't believe so.
     24           Q.    Did the HBC warehouse ever apply for
     25    VAWD certification?

   Golkow Litigation Services                                            Page 135
Case:Highly
      1:17-md-02804-DAP Doc #:- 2212-66
              Confidential       SubjectFiled:
                                           to 08/13/19
                                               Further30Confidentiality
                                                         of 31. PageID #: 336778
                                                                             Review

      1           A.    I'm not -- I'm not sure if we ever
      2    actually applied or not.
      3           Q.    Were you part of the effort to create
      4    these policies for VAWD?
      5           A.    I helped on some of the policies, but,
      6    again, without reading all of these, I'm not sure
      7    which ones I did or did not.
      8           Q.    Let's go back, if we could.            For this
      9    purpose, I'll just use the Bates numbers that are
     10    in the bottom right, the Bates ending number.                  So
     11    go back, if you could, to Bates 629.
     12           A.    Is that this?
     13           Q.    Exactly.      It's the HBC_MDL.
     14           A.    What was the number?
     15           Q.    The ending number is 629.
     16           A.    Okay.
     17           Q.    And if you could, at the top it says
     18    Security Policy.        Do you see that at the top
     19    right?
     20           A.    Yes.
     21           Q.    And then, if you could, do you see the
     22    table that's got two columns?
     23           A.    Yes.
     24           Q.    Explain to me, if you could, how to read
     25    that, if you know.

   Golkow Litigation Services                                            Page 136
Case:Highly
      1:17-md-02804-DAP Doc #:- 2212-66
              Confidential       SubjectFiled:
                                           to 08/13/19
                                               Further31Confidentiality
                                                         of 31. PageID #: 336779
                                                                             Review

      1    COMMONWEALTH OF PENNSYLVANIA            )
      2    COUNTY OF ALLEGHENY                     )        SS:
      3                        C E R T I F I C A T E
      4                 I, Ann Medis, Registered Professional
      5    Reporter, Certified Livenote Reporter and Notary
      6    Public within and for the Commonwealth of
      7    Pennsylvania, do hereby certify:
      8                 That MICHAEL BIANCO, the witness whose
      9    deposition is hereinbefore set forth, was duly
     10    sworn by me and that such deposition is a true
     11    record of the testimony given by such witness.
     12                 I further certify the inspection,
     13    reading and signing of said deposition were not
     14    waived by counsel for the respective parties and
     15    by the witness.
     16                 I further certify that I am not related
     17    to any of the parties to this action by blood or
     18    marriage and that I am in no way interested in the
     19    outcome of this matter.
     20                 IN WITNESS WHEREOF, I have hereunto set
     21    my hand this 23rd day of January, 2019.
     22

                                    _______________________________
     23                                         Notary Public
     24

     25

   Golkow Litigation Services                                            Page 203
